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AD 442 (Rev. 11111) Arrest Warrant




                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                        District of Massachusetts

                   United States of America
                               v.                                   )
                        JOHN KAPOOR                                 )        Case No.    16-10343-ADB
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                             Defendant


                                                     ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)       JOHN KAPOOR
                                 --      ----------                 ------          ------            - - - - . - - - - - - - - ­


who is accused of an offense or violation based on the following document filed with the court:

o     Indictment         d    Superseding Indictment       o   Information      o   Superseding Information           o   Complaint
o     Probation Violation Petition        o   Supervised Release Violation Petition       o Violation Notice          o   Order of the Court

This offense is briefly described as follows:
    18 U.S.C. sec.1962(d) - racketeering conspiracy; 18 U.S.C. sec. 1349 - conspiracy to commit mail fraud; 18 U.S.C. sec.
    1349 - conspiracy to commit wire fraud; 18 U.S.C. sec, 371 - conspiracy to violate anti-kickback law




City and state:       Boston, MA



                                                                 Return              ~?.J."
           This warrant was received on (date) _ _.______               , and the person was arrested on (date)
at (city and state)


Date:
                                                                                          Arresting officer's signature



                                                                                             Printed name and title
